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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA

                  Plaintiff,
                                                               CASE NO:         1-23-CR-20500-RKA
  v.

  CARLOS AUGUSTO GUERRERO BLANCO,

              Defendant.
  _________________________________/

                                 PERMANENT NOTICE OF APPEARANCE

          COMES NOW, Jorge L. Del Villar, Esq.., and hereby files his Permanent Notice of Appearance

  as attorney of record for pre-trial and trial purposes only at proceedings in the United States District

  Court for CARLOS AUGUSTO GUERRERO BLANCO, the defendant in the above captioned matter.

                                         CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been served electronically

  filed with the Office of the Clerk, United States District Court, Southern District of Florida and served

  upon the Office of the United States Attorney, this 25th day of April 2024.



                                                          THE DEL VILLAR FIRM, P.A.


                                                          By

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